    Case 1:17-cr-00295-CMH Document 40 Filed 01/27/20 Page 1 of 3 PageID# 133



                      IN THE UNITED STATES DISTRICT COURT FOR THE

                               EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA                          )
                                                  )   No. 1:17-CR-295-CMH
                 v.                               )
                                                  )
ABDIRIZAK HAJI RAGHE WEHELIE,                     )
                                                  )
                 Defendant                        )

                       GOVERNMENT’S SENTENCING MEMORANDUM

         The United States agrees with the calculation of the sentencing guidelines in the

Presentence Report. Therefore, the United States respectfully submits that the advisory

guidelines range is zero to six months’ imprisonment. We further submit that a sentence within

that range is appropriate.

         With regard to the 18 U.S.C. § 3553(a) factors, and in particular the seriousness of the

offense, the defendant’s conduct was willful and was made in the context of a serious, sensitive

investigation. He was a trusted person at the FBI, but he broke that trust by making a false entry

on a system that was used for monitoring and transcribing sensitive court-authorized

surveillance.1 He later lied to the FBI about what he had done. He also minimized his true

relationship with “Person A,” the subject of the investigation. The Court should consider these

facts when evaluating the defendant’s conduct, but should also take them into account when

determining the sentence needed to deter similar conduct by others who might hold trusted

positions within the FBI or other law enforcement agencies.




1
    However, we do not contend that an enhancement for abuse of trust is called for.
  Case 1:17-cr-00295-CMH Document 40 Filed 01/27/20 Page 2 of 3 PageID# 134



       On the other hand, the United States does acknowledge, as said in the statement of facts,

that it is not presently aware of evidence establishing that the defendant (a) informed Person A or

any other unauthorized person that Person A was the target of the court-authorized surveillance;

(b) discussed with Person A the commission or intended commission of any criminal act; (c)

falsified other entries on the FBI system pertaining to court-authorized surveillance of Person A

or any other person; or (d) received any compensation or other pecuniary benefit for making a

false entry on the FBI system.

       Considering the advisory guidelines and the § 3553(a) factors discussed above, the

United States respectfully submits that a sentence within the guidelines range of zero to six

months’ incarceration is appropriate in this case.

                                               Respectfully submitted,

                                               G. ZACHARY TERWILLIGER
                                               UNITED STATES ATTORNEY


                                         By:                 /s/
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                                                 -2-
  Case 1:17-cr-00295-CMH Document 40 Filed 01/27/20 Page 3 of 3 PageID# 135



                                     CERTIFICATE OF SERVICE

       I certify that on January 27, 2020, I electronically filed the foregoing using the CM/ECF

system, which will send a notification of such filing to counsel of record.

                                              Respectfully submitted,


                                                     /s/
                                              James P. Gillis
                                              Assistant United States Attorney




                                                -3-
